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      KATHYRN KAILIKOLE
  6
  7
                         UNITED STATES DISTRICT COURT
  8
                      SOUTHERN DISTRICT OF CALIFORNIA
  9
      KATHRYN KAILIKOLE, an                  Case No. 3:18-cv-02877-AJB-MSB
 10   individual;
                                             rPreviously San Diego Superior Court
 11                         Plaintiff,       Case No. 37-2018-00058754-CU-WT-
             vs.                             NC]
 12
      PALOMAR COMMUNITY COLLEGE
 13   DISTRICT, a governmental entity; and
      DOES 1 through 25, inclusive;        PLAINTIFF KATHRYN
 14                                        KAILIKOLE'S OPPOSITION TO
                                           DEFENDANT PALOMAR
 15                   Defendants.          COMMUNITY COLLEGE
                                           DISTRICT'S SPECIAL MOTION TO
 16                                        STRIKE PLAINTIFF'S FIRST
                                           AMENDED COMPLAINT
 17
                                             DATE: June 20,2019
 18                                          TIME: 2:00 p.m.
                                             PLACE: Courtroom 4A
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  1   I.    INTRODUCTION
 2          This Court should deny Defendant Palomar Community College District's (the
  3 "District") misguided special motion to strike under California Code of Civil
 4 Procedure 425.16, California's anti-SLAPP statute, because the motion has no legal

  5 basis and was filed to suppress rather than promote petitioning activity.

  6         First, it is well-settled in the Ninth Circuit that the anti-SLAPP statute cannot
  7   apply to federal claims because it would frustrate federal substantive rights. Thus,
  8 the District has no plausible basis for seeking to strike Plaintiffs federal civil rights

  9   claims under Title IX and Title VI. Further, the anti-SLAPP statute applies only
 10 where the complaint arises from an act by the defendant in furtherance of a right to

 11   free speech or to petition. The gravamen of all of Plaintiffs claims is that the
 12   District's decisions to place her on leave, non-renew her contract and terminate her
 13   were retaliatory and discriminatory. As the California Supreme Court held in Park v.
 14 Bd. ofTrustees of the California State Univ., 2 Cal. 5th 1057, 1066 (2017), such

 15 claims, which are based on a public entity's decisions, as distinguished from any

 16 related speech or petitioning activity by officials, do not arise out of protected

 17   activity. Thus, the motion should be denied without further inquiry because the anti-
 18 SLAPP statute does not apply to Plaintiffs claims. Further, because the motion has

 19   no basis, it is frivolous and Plaintiff should be awarded her attorneys' fees.
20          Additionally, Plaintiff can demonstrate a probability of success on the merits.
21    The District's claim that Plaintiffs job duties exclude her from engaging in
22    "protected activity" is contradicted by federal law providing that a communication
23    about discrimination "virtually always" constitutes "protected activity" and there is
24    no exception based on an employee's job duties. Similarly, California Labor Section
25    1102.5 applies to employees who report illegal activity "regardless" of their job
 26   duties. Further, no purported "manager rule" could apply to Plaintiff because she was
27    not a compliance officer and she specifically complained about discrimination.
28          The District's is not immune, as it claims, from Plaintiffs FEHA claims
                                                  1
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      because FEHA's definition of a covered employer expressly includes "state"
  2   employers which supersedes any general immunity statute. Plaintiff was also not
  3   required to exhaust the District's internal procedures because FEHA claims as well as
  4   any related non-FEHA claims based on the same allegations are exempt from internal
  5   exhaustion requirements. Further, Plaintiff plainly alleged a disability under FEHA
  6   because her anxiety causes numerous issues that limit her major life activities.
  7         Plaintiff can also establish a prima facie retaliation case and there is sufficient
  8 evidence of pretext because there is a close "temporal proximity" between the

  9   District's adverse employment decisions and Plaintiffs complaints about
 10   discrimination and retaliation and her request for an accommodation. Moreover, the
 11   District's reasons for terminating Plaintiff are unworthy of credence because, among
 12 other reasons: 1) the District's e-mails about alleged performance issues were not
 13   collected until after Plaintiff demanded to know why she was placed on leave; 2) the
 14 District has never explained why it began investigating Plaintiff; and 3) the District's

 15   investigator did not interview any decision-maker in his purported investigation of
 16   Plaintiff allegations of retaliation; and 4) there was no reasonable basis for the
 17   District to conclude that by properly forwarding an e-mail to her Department Chair to
 18   check on a prior directive prohibiting the use of an airsoft gun, Plaintiff was actually
 19 conspiring to "leak" allegedly confidential information to the Chair's wife.

20          Finally, in the Ninth Circuit, an anti-SLAPP motion cannot be granted unless
21    the Plaintiff has an opportunity to conduct discovery. Here, Plaintiff has not yet had
22    the opportunity to conduct discovery. Accordingly, if the Court does not deny the
23    motion on the current record, then it should postpone any decision, order the
24    commencement of discovery and permit Plaintiff to supplement her opposition.
25    II.   RELEVANT FACTS AND PROCEDURAL BACKGROUND.
26          A.     Plaintiff Is Appointed As Dean Of The MNHS Department.
 27         In January 2016, Plaintiff was hired as Interim Dean of the Mathematics and
 28   the Natural Health Sciences Division of Palomar College. (First Amended Complaint
                                                  2
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      ("FAC"), Doc. 7 ~ 35, Declaration of Kathryn Kailikole ("Kailikole Decl.") ~ 2, Ex.
  2   1.) In April2017, Plaintiffs supervisor, Daniel Sourbeer, Vice-President of
  3   Instruction, gave Plaintiff a superlative performance review. (F AC ~~ 48-50,
  4   Kailikole DecI. ~ 3, Ex. 2.) The review stated Plaintiff is an "excellent
  5   communicator" and that her "grant writing and management" are "superior." (Id. p.
  6   4) The review stated Plaintiff is "a fierce advocate for students" with an "excellent
  7   understanding of budgets and how to use them." (Id. p. 2, 4.) Shortly after the
  8 review, Plaintiff was promoted to Dean. (FAC ~~51-52, Kailikole Decl. ~ 4, Ex. 3.)
  9         As an academic dean, Plaintiff was responsible for an instructional program
 10 and was not a compliance officer. (FAC ~~51, 57, Kailikole Decl. ~ 5.) Separate

 11   departments, such as the EEO Office and Human Resources are responsible for
 12   enforcing anti-discrimination policies. (FAC ~57, Kailikole Decl.    ~   5.)
 13         B.      Plaintiff Is Diagnosed With Anxiety.
 14         In May 20 17, Plaintiff suffered a panic attack and was diagnosed with anxiety
 15 which limits her life activities by causing feelings of being overwhelmed, helpless

 16 and nervous and vertigo and cysts. (FAC ~ 4, 53, Kailikole Decl. ~ 6, Ex. 4.)

 17         C.      Plaintiff Complains About Discrimination By Physics Professors.
 18         In May 2017, a professor in the Physics and Engineering Department, Dr.
 19   Daniel Finkenthal, reported to Plaintiff that a student complained about materials
 20   posted in labs used by Professors Takashi Nakajima ("Nakajima") and Arthur Gerwig
 21   ("Gewig"). (FAC ~ 5, 54, Kailikole Decl. ~~ 7, 10, Ex. 5, p. 1.) Plaintiff complained
 22   about the postings to Shawna Cohen, the Manager ofEEO and Deputy Title IX
 23   Coordinator. (FAC ~ 6, 55, Kailikole Decl. ~~ 7,10, Ex. 5, p. 1.) The postings
 24   included:
 25               • A recitation of a mnemonic device stating: "Black Boys Rape Our
 26                 Young Girls But Violet Gives Willingly Get Some Now."
 27               • A posting entitled "Vogue May Edition" portraying a student lying on
 28                 the hood of a pickup truck holding a drawing of a penis.
                                                 3
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                 • A posting portraying a Iatino student named Juan which stated "2017
  2                 you know you juant me?/Hello Ladies" as a racist play on Juan's name.
  3              • A sexually harassing and racist posting which stated "Dick got her like"
  4                 which was accompanied by a hashtag remark of "#black cock slut."
  5   (FAC ~55, Ex. A p. 5, Kailikole Decl. ~~ 7, 10, Ex. 5, p. 5.) In June 2017, the Title
  6   IX Office began an investigation. (FAC ~59, Ex. A p. 1, Kailikole Decl.         ~~   9, 10,
  7 Ex. 5 p. 1.) Plaintiffwas interviewed by the investigator, Jeffrey Love. (FAC ~ 61,

  8 Ex. A, p. 2, Kailikole Decl. ~~ 9, 10, Ex. 5 p. 2.)

  9         On November 1, 2017, the District concluded its investigation, determining
 10   Nakajima and Gerwig either "displayed the items" or "allowed and even encouraged
 11   others to do so" and lied about it. (F AC ~ 62, Ex. A p. 7, 12, Kailikole Decl. ~ 10 Ex.
 12 5, p. 7, 12.) Plaintiff then suggested to Dr. Lisa Norman, Vice-President of Human
 13   Resources that Nakajima and Gerwig be terminated. (F AC ~ 10, 65, Kalikole Decl. ~
 14   11.) Norman refused to pursue termination, claiming that the offense did not merit
 15 harming their careers and livelihood. (FAC ~ 10, 65, Kalikole Decl. ~ 11.)
 16         On November 27, 2017, Finkenthal advised Plaintiff of complaints about
 17 Nakajima and Gerwig, which Plaintiff forwarded to Norman and requested they be

 18   removed from the classroom given their history. (Kailikole Decl.        ~   12.) Norman
 19   refused to take any action, but "highly recommended" that Plaintiff and Finkenthal
 20   "observe" Nakajima and Gerwig. (FAC ~~ 66-67, Kailikole Decl. ~ 12-13, Ex. 6, p.
 21   1-2.) Consistent with this directive and Finkenthal 's role as Chair of the Department,
 22   Plaintiff forwarded an e-mail from 2016 regarding Nakajima's unsafe use of an
 23   airsoft gun in the lab. (F AC ~~ 75-76, Kailikole Decl.   ~   14.)
 24         When the gun incident occurred in April 20 16, Plaintiff requested that the
 25   Police investigate it and reported it to her supervisor. (F AC ljfljf 41-42, 44, Kailikole
 26   Decl. ~ 15, Ex. 7.) The Police determined that the use of the gun should have been
 27   approved by the Police. (FAC ~~ 46, Kailikole Decl.      ~   15, Ex. 7 p. 5.) Plaintiff
 28   instructed Nakajima to stop using the gun and received no more complaints or reports
                                                   4
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  1   about a gun in any classroom or lab. (F AC ~~ 46-4 7, Kailikole Decl. ~ 15.)
  2   Plaintiffs obvious and proper purpose when she forwarded the e-mail about the
  3   incident to Finkenthal in December 2017 was so he could confirm Nakajima followed
  4   the prior directive to stop using the gun. (F AC ~ 7 6, Kailikole DecI. ~ 16.)
  5         D.     Dr. Kahn Pledges To Support Plaintiff In Her Job.
  6         On December 4, 2017, Plaintiff met with her supervisor, Dr. Jack Kahn. (FAC
  7 ~ 11, 68, Kailikole DecI. ~ 17.) Plaintiff discussed her anxiety with Kahn and

  8 expressed concern about her workload because she was seeking an accommodation.

  9   (Id.) Kahn assured Plaintiff she was a "valuable member of the team" and pledged
 10   his support. (ld.) Kahn stated that he looked forward to continuing to work with her
 11   and that he was aware of her "medical concerns." (/d.) Kahn did not mention any
 12   possible discipline against Plaintiff. (Id.)
 13         E.     The District Begins Retaliating Against Plaintiff.
 14         On December 12,2017, the District placed Nakajima and Gerwig on unpaid
 15   leave for only one month, even though they were repeat discrimination offenders.
 16   (FAC ~~ 12, 69, Kailikole Decl. ~ 18.) Two days later, and a week after Plaintiff
 17   discussed her anxiety with Kahn, the District placed Plaintiff on paid leave. (F AC ~
 18   13, 70, Kailikole Decl.   ~   19, Ex. 8.) The District provided no explanation except that
 19   there was a purported "breach of confidential information." (F AC ~~ 70, 72,
 20 Kailikole Dec I. ~ 19, Ex. 8.)

 21         On January 30, 2018, Plaintiff, through counsel, requested her personnel
 22   records, including information about any "grievance" against her. (Declaration of
 23   Evan Dwin, "Dwin Decl." ~ 2, Ex. 1.) The District's stated that there was "no formal
 24 written grievance or complaints against" her. (Dwin Decl. ~ 5, Ex. 4.) The District

 25   did not mention any alleged performance issues. (Dwin Decl. ~ 5, Ex. 4.)
 26         F.     The District Non-Renews Plaintiff's Contract.
 27         On or about February 16,2018, Plaintiff advised the District that she believed
 28   she was being retaliated against for reporting the lab postings. (FAC ~ 16, 72; Dwin
                                                     5
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  1 Decl. ~ 4, Ex. 3.) The District advised Plaintiff of her right to file a formal complaint

  2   with the District or to pursue her claims with the DFEH or EEOC and that "District
  3   policy and applicable law prohibit retaliation against any employee for filing a
  4   complaint of unlawful discrimination/harassment and/or for participating in any
  5 manner in an investigation thereof." (Kailikole Decl. ~ 20, Ex. 9 p. 1-2.)

  6          On February 26, 2018, the District notified Plaintiff that it was considering
  7   non-renewing her contract. (Kailikole DecI. ~ 21, Ex. 10, Dwin DecI. ~ 6, Ex. 5.)
  8 The District denied that it was considering any complaints or charges against

  9   Plaintiff. (Dwin DecI. ~ 8, Ex. 7.) The next day, in a closed meeting, the District
 10 non-renewed Plaintiffs contract without explanation. (FAC ~ 73, Kailikole Decl. ~

 11   21 , Ex. 11.)
 12          G.       The District's Investigation Of Plaintiff.
 13          On February 27, 2018, Plaintiff was interviewed by Love as part of a purported
 14   investigation of her, in which he asked her about the incident in April2016 where
 15   Nakajima used the airsoft gun. (FAC ~ 74, Kailikole Decl.    ~   22-23.) Plaintiff
 16 confirmed that she forwarded an e-mail about the incident to Finkenthal in December

 17   2017, which was entirely proper. (FAC ~~ 75-76, Kailikole Decl.      ~   23.) Love asked
 18 Plaintiff whether she ever agreed with Finkenthal to forward information about the

 19 gun incident to his wife or the Board. (FAC ~ 21, 77, Kailikole Decl. ~ 23.) Plaintiff

 20   confirmed that she never made any such agreement with Finkenthal and that
 21   Finkenthal never indicated to her that he planned to share the information with
 22   anyone. (FAC ~ 21, 77, Kailikole Decl. ~ 23.)
 23          On March 4, 2018, Plaintiff was informed that Kahn told faculty Plaintiff was
 24   not returning, which confirmed that a decision to terminate her was made prior to the
 25   conclusion of the "investigation." (FAC ~ 22, 78, Kailikole Decl. ~ 24.)
 26         H.        The District Terminates Plaintiff For Plainly Pretextual Reasons.
 27          On May 2, 2018, Kahn sent Plaintiff a letter stating he recommended her
 28   termination. (FAC ~ 23, 79, Kailikole Decl. ~ 25.) On June 13,2018, the District
                                                   6
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  1   terminated Plaintiff. (F AC ~ 27, 84 Kailikole DecI. ~ 26.)
  2         I.     Plaintiff Brings This Action Against The District.
  3         Rather than allow the District to judge its own discriminatory conduct in an
  4   internal proceeding, Plaintiff filed a complaint with the DFEH, then filed this Action.
  5   (FAC ~ 29, FAC 33: 18-20, Ex. B.) Plaintiff alleges 7 causes of action against the
  6   District: 1) retaliation in violation of 20 U.S.C. section 1681 ("Title IX"); 2)
  7   retaliation in violation of 42 U.S.C. section 2000d ("Title VI"); 3) retaliation in
  8 violation of California Government Code section 12940 ("FEHA"); 4) disability

  9   discrimination in violation ofFEHA; 5) failure to accommodate disability in violation
 10   FEHA; 6) failure to engage in the interactive process in violation of FEHA; and 7)
 11   retaliation in violation of Labor Code section 1102.5. (FAC ~~ 87-95,96-104, 105-
 12   110, 111-118, 119-124, 125-130, 131-139). Plaintiff clearly states in the FAC that
 13   "each of [her] claims arise[s] out of adverse employment actions to retaliate against
 14   her for complaining about racist and sexually harassing conduct by [Nakajima and
 15 Gerwig], to discriminate against Plaintiff on the basis of her mental health disability,

 16   and to avoid accommodating her disability." (FAC ~ 2.) Specifically, Plaintiff
 17 alleges that she engaged in protected activity by complaining about sex and race

 18   discrimination and retaliation she suffered for reporting it. (F AC ~~ 90-92, 98-1 00.)
 19   Plaintiff further alleges that the District retaliated against her by "engag[ing] in
 20   adverse employment actions against Plaintiff, which were to place her on paid leave,
 21   non-renew her contract and terminate her employment." (FAC ~~ 91, 99, 107, 137.)
 22   Additionally, Plaintiff alleges that her disability was "a motivating factor in" the
 23   District's decision to place her on leave, non-renew her and terminate her and that it
 24   failed to accommodate her disability or engage in the interactive process. (F AC ~~
 25   115, 121, 127.) Plaintiff sued only the District and does not name any individuals.
 26   (FAC 2: 20-22, ~~ 2, 33.)
 27         J.     The District's Pretextual And Inadmissible Reasons For Its Actions.
 28         In its special motion to strike, the District relies on the purported reasons for
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  1   Plaintiffs termination that it stated in the May 2, 2018 Notice of Recommended
  2   Termination and the June 13, 2018 Termination Letter. Specifically, the District
  3   claims that the termination was legitimate based on an Investigative Report by Love,
  4   dated April 25, 2018 and various e-mails allegedly evidencing performance issues.
  5   (FAC ~~ 79, Declaration of Jack Kahn ("Kahn Decl.") Doc. 14-4 ~~ 4, 9, Exs. A, E.)
  6         In the purported Investigative Report Love claims Plaintiff was part of a
  7   conspiracy to "leak" information about the gun incident to Finkenthal 's wife. (F AC ~
  8   80, Declaration of Jeffrey Love ("Love Decl.") Doc. No. 14-3 ~ 4, Ex. A. p. 8, 12, 24-
  9 26, passim.) The evidence of the alleged conspiracy is that Plaintiff may have talked

 10   to Finkenthal on the phone before forwarding him the e-mail. (Love Decl. ~ 4, Ex. A
 11   p. 8, 12, 24-26.) Plaintiff had no idea Finkenthal forwarded e-mails to his wife and
 12   did not ask him to do so. (F AC   ~   80, Kailikole DecI. ~ 23.) Further, during the
 13   investigation, which took four months, Love interviewed only two witnesses, Plaintiff
 14   and Finkenthal, both of whom denied any alleged "conspiracy." (FAC fl81, Love
 15   Decl. ~ 4, Ex. A p. 8, 10, 12, 18, 22, passim.) Love did not consider Norman's
 16   November 27, 2017 directive instructing Plaintiff to enlist Finkenthal's aid in
 17   "observing" Nakajima and Gerwig. (Love Decl.         ~   4, Ex. A p. 17, 23-26.) Love also
 18   provides no explanation as to why Plaintiff would want to "leak" information to, of
 19   all people, Finkenthal's wife. (Love Decl. ~ 4, Ex. A p. 23-26.)
 20         Love's report also denies the District retaliated against Plaintiff by placing her
 21   on administrative leave and non-renewing her contract. (Love Decl. ~ 4, Ex. A p. 33-
 22   36.) However, Love interviewed only Plaintiff and did not interview a single person
 23   involved in the decision to place her on leave or non-renew her. (Love Decl. ~ 4, Ex.
 24   A p. 33-36.) Notably absent was any inquiry into the origin of the investigation, who
 25   ordered it, or why the District was monitoring Plaintiffs e-mails, instead stating only
 26   that the investigation was "internally generated at the request of Human Resources."
 27   (FAC ~ 81, Love Decl. ~ 4, Ex. A p. 10.) Love conducted no analysis of retaliation
 28   policy or law and did not consider the timing of the non-renewal in relation to
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      Plaintiff's complaints. (Love Decl. ~ 4, Ex. A p. 34-36.) Love also concluded that
  2 the decision to non-renew Plaintiff was justified based on his findings of alleged

  3 misconduct, even though the report was issued two months after the decision was

  4   made and Plaintiff was advised by District's counsel that the proposed non-renewal
  5   was not based on accusations of misconduct. (Love Decl. ~ 4, Ex. A p. 36; Dwin
  6   Decl. ~ 8, Ex. 7.)
  7         The District's alleged evidence of performance issues consists mostly of e-
  8 mails Kahn started forwarding to Human Resources for the first time on February 1,

  9   2019 - within two days of Plaintiff's attorney demanding information about why she
 10 was being investigated. (Kahn Decl. ~ 4, Ex. A p. 32-47, Dwin Decl. ~ 2, Ex. 1.)

 11   Norman immediately forwarded thee-mails to the District's counsel. (Kahn Decl. ~
 12 4, Ex. A p. 32-47.) Thee-mails included: 1) e-mails from September 2017 in which a

 13   professor complained about alleged inaction on his requests for grant money; 2) e-
 14 mails chain from October 20 17 regarding the faculty interviews; 3) e-mails chain

 15   from December 2017 regarding the Annual Division Update; 4) the December 4,
 16 2017 e-mail from Dr. Kahn about Plaintiff's workload and medical issues; and 5) a

 17 January 31, e-mail from a staff member claiming Plaintiff allegedly "belittling her."

 18 (!d.) None of thee-mails were provided to Plaintiff as possible grounds for discipline

 19 prior to Kahn's May 2 letter recommending termination. (Kailikole Decl. ~ 25.) The

 20   District also claimed Plaintiff waited 18 months to report the gun incident to Human
 21   Resources, even though she immediately reported it to her supervisor and the police.
 22   (F AC ~~ 44, 83, Love Dec I.~ 4, Ex. A, p. 27-30.)
 23         The Notice of Recommended Termination and Termination Letter attach
 24   hundreds of pages of exhibits, including e-mails, letters, alleged interview transcripts,
 25   alleged reports and other documents. The District submits these documents as
 26   Exhibits A and E to Norman's and Kahn's Declarations. The District submits no
 27 testimony establishing foundation for the authenticity of any of these documents and

 28   submits no testimony from any person claiming to have personal knowledge of the
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  1 incidents and events purportedly described therein, let alone any testimony regarding
  2   whether the purported incidents or events occurred. Similarly, the District submits no
  3 foundational testimony as to the authenticity of the purported evidence, such as e-
  4   mails, transcripts and reports, relied upon by Love in his April 25, 2018 report
  5 attached as Exhibit A to his declaration. His conclusions are merely opinions and are

  6   not based on any evidence of any facts for which he has personal knowledge. Thus,
  7   Plaintiff objects to Exhibits A and E to Norman's and Kahn's Declarations and
  8 Exhibit A to Love's Declaration and they should be excluded because they lack

  9   foundation, are hearsay offered for their truth and because any probative value is
 I 0 substantially outweighed by danger of prejudice. Fed. Rule Evid. 403, 602, 801, 90 1.
 11          K.    Plaintiff Has Not Had An Opportunity To Conduct Discovery.
 12          Plaintiffs access to here-mails was cut-off by the District in December 2017.
 13   Further, discovery has not commenced in this Action. (Dwin Decl. ~ 10.) Plaintiff
 14   has not had an opportunity to review documents in the exclusive possession of the
 15   District, including her own e-mails and e-mails by District administrators regarding
 16   its investigations and employment decisions and she has not had an opportunity to
 17   depose Kahn, Norman, Love or any other key witnesses. (Dwin Decl.          ~   10.)
 18   III.   FEDERAL CLAIMS ARE NOT SUBJECT TO ANTI-SLAPP MOTIONS.
 19          The application of California's anti-SLAPP statute to federal claims "would
 20   frustrate substantive federal rights", is contrary to the federal interest of prescribing
 21   uniformity of federal law and risks permitting "state law to affect and alter the
 22   substance of federal claims in violation of the Supremacy Clause of the Constitution."
 23   Bulletin Displays, LLC v. Regency Outdoor Adver., Inc., 448 F .Supp. 2d 1172, 1180-
 24   82 (C.D. Cal. 2006) Thus, the anti-SLAPP statute does not apply to causes of action
 25   arising from federal law asserted in federal court. Hilton v. Hallmark Cards, 599
 26   F .3d 894, 901 (9th Cir. 201 0); Bulletin, supra, 448 F.Supp. 2d at 1180-81.
 27          In her Title IX and Title VI claims Plaintiff seeks to enforce substantive federal
 28   rights. The law is clear that these claims are not subject to an anti-SLAPP motion
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      because it would allow state law to limit substantive federal rights. Thus, the special
  2   motion to strike Plaintiffs Title IX and Title VII should be denied.
  3 IV.     PROCEDURE FOR DECIDING AN ANTI-SLAPP MOTION.
  4         "In evaluating an anti-SLAPP motion, the court conducts a potentially two step
  5 inquiry." Bonni v. St. Joseph Health Sys., 13 Cal. App. 5th 851, 859 (2017). "First,

  6 the court must decide whether the defendant has made a threshold showing that the

  7 plaintiffs claim arises from protected conduct." Navellier v. Sletten, 29 Cal. 4th 82,

  8 88 (2002). "To meet its burden, under the first prong of the anti-SLAPP test, the

  9 defendant must demonstrate that its act underlying the plaintiffs claim fits one of the

 10   categories spelled out in" California Code of Civil Procedure section 425.16(e),
 11   which are (1) statements or writings made an official proceeding, (2) statements in
 12   connection with an issue under consideration by an official proceeding, (3) statements
 13   made in a public place or forum in connection with an issue of public interest, or ( 4)
 14   conduct in furtherance of the exercise of the constitutional right of petition or the
 15   constitutional right of free speech in connection with a public issue or an issue of
 16   public interest. Bonni, supra, 13 Cal. App. 5th at 859.
 17         Where an action arises from protected activity, the burden shifts to the plaintiff
 18 to demonstrate a probability of prevailing on the merits. Equilon Enters. v. Consumer

 19   Cause, Inc., 29 Cal. 4th 53, 67 (2002). The Ninth Circuit applies one of two
 20   standards to this issue. Planned Parenthood Fed'n ofAm., Inc. v. Ctr. forMed.
 21   Progress, 890 F.3d 828, 834 (9th Cir. 2018). Where the motion "challenges only the
 22   legal sufficiency of a claim" the court applies the Rule of Civil Procedure 12(b)(6)
 23   standard and "considers whether a claim is properly stated." !d. at 834. Where the
 24 motion challenges the factual sufficiency of a claim, then the Rule of Civil Procedure

 25   56 standard applies. Id. However, "discovery must be allowed, with opportunities to
 26   supplement evidence .... before any decision is made by the court" and the motion
 27   cannot be granted without first permitting leave to amend under Rule of Civil
 28   Procedure IS(a). Planned Parenthood, supra, 890 F.3d at 834; Verizon Del., Inc. v.

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  1   Covad Commc 'ns Co., 377 F.3d 1081, 1091 (9th Cir. 2004).
  2   V.    THE CLAIMS DO NOT ARISE FROM PROTECTED ACTIVITY.
  3         A claim "arises from protected activity" where the "defendant's act underlying
  4 the plaintiffs cause of action" is "an act in furtherance of the right to petition or free

  5 speech." Park v. Bd. of Trustees of the California State Univ., 2 Cal. 5th 1057, 1062

  6   (2017) (quoting City of Cotati v. Cashman, 29 Cal. 4th 69, 78 (2002)). A claim "is
  7   not subject to a motion to strike simply because it contests an action or decision that
  8 was arrived at following speech or petitioning activity, or that was thereafter

  9   communicated by means of speech or petitioning activity." !d. at 1060. "Rather, a
 10   claim may be struck only if the speech or petitioning activity itself is the wrong
 11   complained of, and not just evidence of liability or a step leading to some different
 12   act for which liability is asserted." Id. Thus, the fact that a complaint alleges that a
 13   public entity's action was taken as a result of a vote of its members "does not mean
 14   that the litigation challenging that action arose from protected activity" because
 15 "[a]cts of governance mandated by law, without more, are not exercises of free

 16 speech or petition." Id. at 1064 (quoting San Ramon Valley Fire Prot. Dist. v. Contra

 17   Costa Cnty. Emps. Ret. Ass 'n, 125 Cal. App. 4th 343, 354 (2004)).
 18         In discrimination cases, "[w]hat gives rise to liability is not that the defendant
 19   spoke, but that the defendant denied the plaintiff a benefit, or subjected the plaintiff to
 20   a burden, on account of a discriminatory or retaliatory consideration." Park, supra, 2
 21   Cal. 5th at 1066. Thus, "[w]hile [the] discrimination may be carried out by means of
 22   speech ... and an illicit animus may be evidenced by speech, neither circumstance
 23   transforms a discrimination suit to one arising from speech." Id.
 24         In Nam v. Regents of the Univ. of California, 1 Cal. App. 5th 1176, 1180-82
 25   (20 16), the plaintiff was a doctor who was investigated and terminated by a public
 26 hospital after she complained about procedures for intubating patients. The trial court

 27   denied the Regent's anti-SLAPP motion on the plaintiff's claims for discrimination
 28   and retaliation. Id. at 1184. The Court of Appeals affirmed, characterizing the motion
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  1 as "misguided" and "abusive." !d. at 1179, 1184. The court held that the gravamen

  2 of the complaint was the defendant's retaliatory and harassing conduct and not its

  3   written statements. ld. at 1192. The court reasoned that the fact that an official
  4   proceeding is involved does not "inoculat[e]" a defendant where the "gravamen of the
  5   complaint" is "discrimination or retaliation." !d. at 1190. To hold otherwise, the
  6   court reasoned, would "allow an etnployer to use a protected activity as the tneans to
  7   discrhninate or retaliate and thereafter capitalize on the subterfuge by bringing an
  8   anti-SLAPP motion to strike the co1nplaint." !d.
  9         In Park, the plaintiff was a professor at a public university who was denied
 10   tenure. Park, supra, 2 Cal. 5th at 1061. The California Supreme Court held that the
 11   plaintiffs discrimination claims did not arise from protected activity because the
 12 elements of the claim did not depend on any evaluation in the tenure process "but

 13   only on the denial of tenure and itself and whether the motive for that action was
 14   impermissible." !d. at 1068. Thus, while there were allegations of related statements,
 15 such allegations did "not convert" the statements into the "basis of liability." !d. 1

 16         In Whitehall v. Cty. ofSan Bernardino, 17 Cal. App. 5th 352, 357-358 (2017),
 17   the plaintiff was a social worker who sought legal advice after she was asked to
 18   submit doctored photos and withhold evidence in a hearing. The County placed her
 19   on leave purportedly to investigate whether she disclosed confidential information.
 20 !d. at 358. The plaintiff resigned and sued for whistleblower retaliation under Section

 21   1102.5. !d. at 359. The court reasoned the claims did not arise from protected
 22   activity because the plaintiff did not sue individuals and challenged only the
 23   "employment decision" to place her on leave and "not the process". !d. at 362.
 24         In Sam Ramon Valley Fire Protection Dist. v. Contra Costa Cty. Employees'
 25   Retirement Assn., 125 Cal. App. 4th 343, 348 (2004), the plaintiff sued a retirement
 26
      1
 27  Plaintiff advised the District in advance of its motion that Park and Nam held that the
    anti-SLAPP statute does not apply to employment decisions as op12_osed to speech or
 28 petitioning activity but the Distnct filed its motion anyway. (Dwin-Decl. ~ 9,tx. 8.)

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  1   board over the pension contribution it voted to impose. The board's anti-SLAPP was
  2   denied. !d. at 349, 353. The Court of Appeal affirmed, holding that the pension
  3 decision was not protected activity because the action challenged was simply to

  4   charge more for pension contributions and not to engage in any speech or petitioning
  5   activity. Jd. at 357. The court reasoned that "[a]cts of governance mandated by law,
  6   without tnore, are not exercises of free speech or petition." Jd. at 353.
  7         Like the defendant in Nam, the District by "stitching together a number of
  8   disparate legal principles extracted from cases with very different facts," is "ignoring
  9 the fundamental question [of] whether the lawsuit is indeed a SLAPP, and divorcing
 10   the analysis from the purpose of the anti-SLAPP law" so as to "con·struct an argument
 11   that, in effect would subject most harassment and retaliation claims against public
 12   entities to an anti-SLAPP motion." Nam, supra, 1 Cal. App. 5th at 1186 (emphasis in
 13   original). Indeed, like the plaintiffs allegations in Nam, Park, and Whitehall, there is
 14   no doubt that the gravamen of Plaintiffs FAC is that the District injured Plaintiff by
 15   making retaliatory employment decisions. Each of Plaintiffs claims depends on
 16   proof that the District's decisions to place her on administrative leave, non-renew her
 17   contract and terminate her were for discriminatory and retaliatory reasons. 2 The
 18 claims do not implicate any speech or petitioning activity by the District.

 19         The District has no basis for its position that protected activity includes any
 20   official action it takes or decision it reaches by a vote. Indeed, it is well-settled that
 21   decisions of an elected board are not protected even though they "are "arrived at after
 22   discussion and a vote at a public 1neeting ...." Park, supra, 2 Cal. 5th at 1067
 23   (citing San Ramon, supra, 125 Cal. App. 4th at 358). In fact, in Park, the court
 24   warned that failing to distinguish between challenged decisions and "the speech that
 25   leads to the1n or thereafter expresses them 'would chill the reso1t to legitimate
 26

 27   2
        While the sham investigation is evidence of pretext and retaliation, none ofPlaintiffs
 28   causes of action or theones of recovery depend on or are based on the investigation.

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  1   judicial oversight over potential abuses of legislative and administrative power."'
  2 Park, supra,   2 Cal. 5th at 1067 (citing San1 Ramon, supra, 2 Cal. 5th at 358).
  3         The District's argument that personnel decisions are protected because they are
  4   purportedly made in the "public interest" was also rejected in Park, which held that
  5   an assertion that a hiring decisions is a matter of public interest does not "suffice to
  6 bring that decision within the scope of protected activity." Park, supra, 2 Cal. 5th at
  7   1072. The court in Nam elaborated on this principle, reasoning:
  8         The quintessential SLAPP is filed by an economic powerhouse to
  9         dissuade its opponent from exercising its constitutional right to free
 10         speech or to petition . . . . [I]t is . . . designed to stifle dissent or public
 11         participation. It is hard to imagine that [the plaintiffs] complaint alleging
 12         retaliatory conduct was designed to, or could, stifle [the defendant] from
 13         investigating and disciplining doctors who endanger public health and
 14         safety. The underlying lawsuit may or may not have merit that can be
 15         tested by summary judgment, but it is quite a stretch to consider it a
 16         SLAPP merely because a public university commences an investigation.
 17 Nam, supra,    1 Cal. App. 5th at 1186. Unlike in Vergas v. McNeal, 146 Cal. App. 4th
 18   1387 (2007), relied upon by the District, which decided an anti-SLAPP motion by an
 19   individual, Plaintiff sued only the District. In Park, the court held that Vergas is not
 20   applicable to claims against an entity because, while denying protection to individuals
 21   could chill participation in "matters of public importance" there is "no similar concern"
 22   in denying protection for the "decision itself' and none of the "purposes the Legislature
 23   sought to promote when enacting the anti -SLAPP statute are furthered by ignoring the
 24   distinction between a government entity's decisions and the individual speech or
 25   petitioning activity that may contribute to them." Park, supra, 2 Cal. 5th at 1071.
 26         In Miller v. City ofLos Angeles, 169 Cal. App. 4th 1373, 1378, 1383 (2008),
 27   cited by the District, the special motion to strike was filed only as to claims for
 28 defamation and intentional infliction of emotional distress related to statements made

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      in an investigation. !d. at 1383. In Hansen v. California Dept. ofCorrs. and Rehab.,
  2   171 Cal. App. 4th 153 7 (2008), the plaintiff retired before bringing a purported
  3 whistleblower claim and claims for defamation and intentional infliction of emotional
  4   distress based on statements made during an investigation. !d. at 1541, 1544. Unlike
  5   here, the claims in Hansen and Miller were based on speech and not based on adverse
  6   employment actions. Thus, Miller and Hansen illustrate only that Plaintiff properly
  7   limited the FACto claims based on the District's employment decisions themselves.
  8         Because Plaintiffs claims arise from employment decisions and not from
  9 speech or petitioning activity, the motion should be denied without further inquiry.

 10   VI.   PLAINTIFF'S CLAIMS ARE SUFFICIENTLY ALLEGED.
 11         The District's motion challenges the legal sufficiency of the F AC by asserting
 12   a purported "manager" exception to retaliation claims, claiming immunity and
 13   arguing Plaintiff was required to pursue internal remedies. Thus, the motion should
 14   be considered under the Rule 12(b)( 6) standard, which requires the court to accept as
 15 true all of Plaintiff's allegations and draw all reasonable inferences in her favor.
 16   Planned Parenthood, supra, 890 F.3d at 834; Tworivers v. Lewis, 174 F.3d 987, 991
 17   (9th Cir. 1999). To the extent the District challenges the factual sufficiency of the
 18   FAC, the Court should: 1) deny the motion because there are genuine issues of
 19   material fact, or; 2) permit discovery so Plaintiff can "supplement evidence" before
 20   any decision is made." Planned Parenthood, supra, 890 F.3d at 834.
 21         A.     Plaintiff Engaged In "Protected Activity."
 22         Title IX provides a private right of action for any person retaliated against for
 23   complaining about sex discrimination." Jackson v. Birmingham Bd. ofEduc., 544
 24   U.S. 167, 180-181 (2005). Because reporting discrimination is critical to preventing
 25   discrimination, "[w]hen an employee communicates" a belief that discrimination
 26   occurred "that communication' virtually always" constitutes protected activity.
 27   Crawford v. Metro. Gov't ofNashville & Davidson Cnty, 555 U.S. 271, 276 (2009)
 28         The lack of an exception to the rule that "virtually any" communication about
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  1 discrimination is protected activity was confirmed in a Title VII case, Demasters v.

  2 Carillion Clinic, 796 F.3d 409, 423 (2d Cir. 2015). In Demasters, the court reversed

  3 a motion to dismiss where the plaintiff was terminated after helping another
  4   employee file a harassment complaint, even though the plaintiffs job was to counsel
  5 employees. /d. at 414-415, 422. The court held there was no reason to believe

  6   "Congress intended to excise a large category of workers" from protection. !d. at
  7 422. The court reasoned that any exception would put in motion a "downward spiral"

  8 of enforcement by discouraging reporting by employees in the best position to assist

  9   others with claims. !d. at 422-23; see Johnson v. Univ. of Cincinnati, 215 F.3d 561,
 10   567-69, 579 (6th Cir. 2000) (even high-level affirmative action official is protected to
 11   prevent retaliation against person best able to oppose discrimination). !d. at 580.
 12            DeMasters, Johnson, Jackson and Crawford all recognize- without exception
 13   -   that encouraging reporting is essential to the goal of preventing discrimination. In
 14   an academic environment, victims of discrimination may fear retaliation if they
 15 pursue complaints against powerful professors. It is therefore essential to Title IX

 16 and Title VI's purpose of preventing discrimination to ensure that any employee of a

 17   college, especially a dean, can pursue a complaint with the Title IX Office on behalf
 18   of others without fear of reprisal. The District's own non-retaliation policy confirms
 19 its agreement that this is the law by prohibiting retaliation against "any employee" for

 20   "filing a complaint of unlawful discrimination/harassment and/or for participating in
 21   any manner in an investigation thereof." Thus, as a matter of law, Plaintiffs job
 22 duties did not preclude her from engaging in protected activity when she complained
 23   on behalf of students, participated as a witness and complained about retaliation.
 24            The cases cited by the District do not support its unfounded assertion that
 25   reporting discrimination is protected activity only for certain employees. Garcetti v.
 26   Ceballos, 547 U.S. 410, 414-415 (2006) is a first amendment case. Skare v.
 27 Extendicare Health Servs. Inc., 515 F .3d 836 (8th Cir. 2008) concerned a Minnesota

 28   whistleblower statute and not federal or California law, let alone discrimination. In
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  1 Rosenfield v. GlobaTranz Enters., Inc., 811 F. 3d 282, 285 (9th Cir. 20 15), the
  2   plaintiff was a human resources director, who was terminated after complaining about
  3   FLSA non-compliance. The district court granted summary judgment on the ground
  4   that the plaintiff was not entitled to protection under the FLSA because she never
  5 "filed any complaint." /d. at 285. The Ninth Circuit reversed, applying the FLSA' s

  6 "fair notice" test and declining to apply a "manager rule" even to FLSA retaliation

  7   claims. !d. at 287. The court further held the plaintiff "complained" because
  8 defendant's president was responsible for FLSA compliance. Id. at 287-288.

  9         McKenzie v. Renberg's, Inc., 94 F.3d 1478, 1486-87 (lOth Cir. 1996) is an
 10 FLSA case, decided 20 years before Crawford, that concerned a report by personnel

 11   director of possible FLSA violations who did not assist anyone in making a
 12   complaint. Id at 1486-87. Further, in Rosenfield, the Ninth Circuit declined to adopt
 13   McKenzie's "manager rule" even in FLSA cases. Rosenfield, supra, 811 F .3d at 287.
 14         The lone discrimination case cited by the District is EEOC v. HBE, 135 F.3d
 15   543, 554 (8th Cir. 1997), also decided decades before Crawford, which held that a
 16 personnel director did engage in protected activity when he refused to carry out an

 17 illegal termination. 3 Further, in a recent case from the same Circuit, Robinson v.

 18   Wichita State Univ., 2018 U.S. Dist. LEXIS 22983 (D. Kansas 2018, decided
 19 February 13, 2018) **9, 11, the court held that even a Title IX compliance officer

 20   engages in protected activity where she files the complaint as opposed to just
 21   advising the defendant that it should investigate. Jd. **9, 11 (denying motion to
 22   dismiss where plaintiff reported and led investigation of sexual assault of student).
 23         Unlike an EEO Officer, whose responsibility is investigating discrimination
 24   claims and ensuring legal compliance, Plaintiff was an academic dean responsible for
 25   instructional programs. Thus, even if there were a manager's rule in discrimination
 26
      3
 27   Even where coutts applied a "manager rule" it applied "only to managers in human
    resources departments . . . with specific duties related to investi~t1ng_ personnel
 28 issues." Chapman v. Milwaukee Cnty., I 51 F. Supp. 3d 892,899-900 (t.D. Wis. 2015).

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      cases, which there is not, it would not apply to Plaintiff. Further, Plaintiff
  2 complained about discrimination and complained again when she was retaliated

  3   against and therefore engaged in "protected activity" regardless of her job duties.
  4         B.     Section 1102.5 Applies "Regardless" Of Job Duties.
  5         "It is a settled principle in California law that '[w]hen statutory language is ...
  6   clear and unambiguous there is no need for construction, and courts should not
  7   indulge in it."' In re Lance W., 37 Cal. 3d 873, 886 (1985). California Labor Code
  8 section 11 02.5(b) provides that an employer shall not retaliate against an employee

  9 for disclosing information "if the employee has reasonable cause to believe that the

 10   information discloses a violation of state or federal statute ... regardless of whether
 II   disclosing the information is part of the etnployee' s job duties."
 I2         Section 1102.5 is clear in its protection of whistleblowers "regardless" of
 I3   whether reporting is part of their job. The District provides no authority for its claim
 I4 that "regardless of job duties" means anything other than what it says. 4 Thus, as a

 I5   matter of law, Plaintiff engaged in protected activity regardless of her job duties.
 I6         c.     FEHA Expressly Applies to Public Employers.
 I7         California Government Code 12926, which defines the terms used in FEHA,
 18   provides that the tenn "[ e]mployer" includes "the state or any political or civil
 I 9 subdivision of the state, and cities .... " Cal. Gov. Code § 12926. This definition of
 20 '"employer' is [an] express declaration of the Legislature's intent to subject public

 2I   entities to liability for violations of FEHA, and a 'clear indication of legislative intent
 22 that immunity [under [Gov. Code] sections 820.2 and 815.2] be withdrawn" for
 23
 24   4
     The cases cited b_y the District. Patten v. Grant Joint Union Sch. Dist. 134 Cal. App.
 25 4th 1378 (2005t Edgerly v. City of Oakland, 211 Cal. App. 4th 1191 (2012), Muniz v.
    United Parcel Serv., Inc. 1 731 F. Supp. 2d 970 (N.D. Cal. 2010) and 'Lund v. Leprino
 26 Foods Co., 2007 U.S. Dtst. LEXIS 46705 (E.D. Cal. 2007), were all decided before
    Section 1102.5 was amended to add the language protectin_g employees "regardless" of
 27 iob duties. Cal. Labor Code§ 11 02.5(a) as amend. by Ch 781 § 4.1 (SB 496), effective
    January 1, 2014. Thus, to the extent those cases even considered the plaintiffs' job
 28 duties, they are superseded by the express language of the amended statute.

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  1   FEHA claims. DeJung v. Superior Court, 169 Cal. App. 4th 533, 544, 546 (2008)
  2   Public etnployers are "directly liable" for FEHA violations Jd. at 545
  3         In Dejung, the court rejected the exact argument made by the District here
  4   under Cald·well v. Montoya, 10 Cal. 4th 972, 976-77 (1995). In Caldvvell, the court
  5   held that a public entity is not vicariously liable for an individual official's actions.
  6   Dejung, supra, 169 Cal. App. 4th at 544, Caldvvell, supra, 10 Cal. 4th at 989
  7   ( etnphasis   in Dejung). However, the court -'expressly declined" to decide "whether a
  8 government employer as an entity" can be sued." Dejung, supra, 169 Cal. App. 4th

  9 at 544-45 (emphasis added), Caldvvell. supra, 10 Cal. 4th at 989 n. 9. Dejung settled

 10   this issue, holding that "FEHA provides a basis of direct liability" independent of any
 11   derivative liability addressed by itnmunity statutes. DeJung, supra 169 Cal. App. 4th
 12   at 545, (quoting Farmers Ins. Group v. Cnty. of Santa Clara, 11 Cal. 4th 992, 1014-
 13   15 (1995)) Thus, the District is an "employer" under FEHA and has no immunity.
 14         D.       Plaintiff Alleged A Disability Under FEHA.
 15          FEHA defines a "mental disability" as "any mental or psychological disorder
 16   or condition" such as an "etnotional or mental illness" that "limits a tnajor life
 17 activity." Cal. Gov. Code§ 12926U)(i). A condition lilnits a major life activity ''if it

 18 makes the achievement" of the activity "difficult." Cal. Gov. Code§ 12926U)(l)(B).

 19 "Major life activities" are "broadly construed" and include "physical, mental, and

 20   social activities and working." Cal. Gov. Code§ 12926G)(i). Even temporary
 21   anxiety arising from work conditions constitutes a disability under FEHA. Diaz v.
 22 Fed. Express Co1p., 373 F.Supp.2d 1034, 1041, 1053 (C.D. Cal. 2005); see also

 23   Jensen v. Wells Fargo Bank, 85 Cal. App. 4th 245, 249, 253, 257-58 (2000) (PTSD
 24   suffered as a result of incident at work constituted protected disability).
 25         Plaintiff suffers frotn a diagnosed disorder, anxiety, which causes her to suffer
 26   feelings of being overwhelmed and other symptoms that lhnit her "major life
 27   activities," including working. Thus, Plaintiffs anxiety is a disability under FEHA.
 28         The District relies on cases concerning allegations that anxiety or stress
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  1   prevented the plaintiff frotn working under a particular supervisor. Higgins- Williams
  2   v. Sutter Med. Found., 237 Cal. App. 4th 78, 84-85 (2015); Estrada v. Gate Gour1net,
  3   Inc., 2017 U.S. Dist. LEXIS 86848 *13-14 (C.D. Cal., decided June 6, 2017) and
  4 Burch v. Cal. DM·v, 2017 U.S. Dist. LEXIS 131780 * 14 (E.D. Cal., decided

  5 December 20, 2013) (inability to work under a particular supervisor because of

  6   anxiety related to the supervisor's standard oversight does not constitute a disability.)
  7 The District also cites to Striplin v. Shanu"ock Foods Co., 731 F.App'x 618 (9th Cir.

  8 20 18) for the proposition that workplace stress related to oversight of an employee's

  9 job performance is not a recognized disability.     !d. at 620 (Trial Court opinion,
 10 Striplin v. Sha1nrock Foods Co.     2016 U.S. Dist. LEXIS 39680     ** 15-16 (C.D. Cal.,
 11   decided March 24, 2016). Unlike the plaintiffs in Higgins-Willian1s, Estrada and
 12 Burch,   Plaintiff does not allege that her anxiety was caused by her supervisor.
 13   Futther, unlike in Striplin, Plaintiff does not allege that she was merely stressed by
 14   the oversight of her job perfonnance. To the contrary, Plaintiff has diagnosed anxiety
 15   which is precisely the type of disability contetnplated by FEHA's broad protection.
 16 Futther, when Plaintiff told her supervisor she needed an accomtnodation, the District

 17   placed her on leave and instructed her not to speak with anyone. Thus, the District's
 18   claim that Plaintiff should have submitted a medical certification merely highlights its
 19   illegal interference with Plaintiff's access to a proper interactive process.
 20         E.     The Exhaustion of Internal Remedies Doctrine Does Not Apply.
 21         Employees who claim that "they have suffered employment-related
 22   discrimination" do not need to exhaust internal remedies. Schifando v. City of Los
 23   Angeles, 31 Cal. 4th 1074, 1092 (2003). Thus, in a discrimination case, the employee
 24 "may choose to ignore" internal procedures and proceed directly to the courts to

 25   obtain relief under FEHA. Ortega v. Contra Costa Community College Dist., 156
 26   Cal. App. 4th 1073, 1083 (2007). As a necessary corollary to this right, employees
 27 need not exhaust internal remedies for other claims if the "resolution of those claims
 28 would have a preclusive impact on the FEHA claim." /d. at 1086 (quoting Williams

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      v. Hous. Auth. ofLos Angeles, 121 Cal. App. 4th 708, 713 (2004)).
  2         In Ortega, the plaintiff sued for discrhnination and retaliation under FEHA,
  3   intentional infliction of etnotional distress, and wrongful termination. Ortega, supra,
  4 156 Cal. App. 4th at 1078. The coutt held that the plaintiff was not required to
  5 exhaust internal remedies on any of his claims. Id at 1086. The court reasoned it

  6 would be unfair to require internal resolution of any claims because it would have a
  7   preclusive impact on the FEHA clahn. I d. Thus, the plaintiff properly bypassed
  8 internal retnedies on all his claim, even the non-FEHA clain1s. Jd.

  9         Like her FEHA claim, Plaintiff's Section 1102.5 claim is based on the
 10   retaliation against her for reporting discrimination. Thus, like the comtnon law
 11   claims in Ortega, Plaintiff could bypass internal procedures on all her claims because
 12   if she pursued internal remedies, it would risk findings that could be preclusive on
 13   FEHA issues like whether the District's reasons for its actions are pretextual. 5
 14   VII. PLAINTIFF ESTABLISHED A PRIMA FACIE CASE AND PRETEXT.
 15         In a retaliation claim, the plaintiff must first establish a prima facie case by
 16   showing: 1) she engaged in protected activity; 2) she was subject to an adverse
 17   employment action; and 3) there was a causal link between the protected activity and
 18 the employer's action. Oilier v. Sweetwater Union High Sch. Dist., 768 F.3d 843,

 19   867 (9th Cir. 2014 ). Only a "minimal" showing is required. !d. Causation "may be
 20   inferred from circumstantial evidence" including the temporal proximity between the
 21   protected activity and the retaliatory action. Yartzoffv. Thomas, 809 F.2d 1371, 1376
 22
      5
 23    The cases cited by the District are inapplicable. In Westlake Cmty. Hosp. v.
      Superior Court, 17 Cal. 3d 465, 487 (1976) the internal remedies doctrine did not
 24
      apply because no internal remedy was available. In Campbell v. Regents of
 25   California, 35 Cal. 4th 311, 317 (2005), Terris v. Cnty. ofSanta Barbara, 20 Cal.
      App. 5th 551, 554-55 (20 18) and Palmer v. Regents of the Univ. of California, 107
 26
      Cal. App. 4th 899, 902 (2003), the plaintiffs alleged whistleblower claims that were
 27   not based on reporting discrimination as distinguished from other illegal acts. Unlike
      in Terris, Palmer and Campbell, Plaintiffs Section 1102.5 claim is based on
 28
      retaliation for reporting discrimination and is asserted together with a FEHA claim.
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  1 (9th Cir. 1987); Emeldi v. Univ. of Oregon., 698 F.3d 715, 726-27 (9th Cir. 2012).

  2         After a plaintiff establishes a prima facie case, the burden shifts to the
  3   defendant to "articulate a legitimate, non-retaliatory reason" for its actions. !d. If the
  4 defendant can do so, the burden shifts back to the plaintiff to show that the reason is

  5 pretextual.   !d. A plaintiff can show pretext by showing that a discriminatory reason
  6 more likely motivated the employer or that the "proffered explanation is unworthy of

  7   credence."' Stegall v. Citadel Broad. Co. 350 F.3d 1061, 1068 (9th Cir. 2003).
  8 Temporal proximity between protected activity and an adverse employment action

  9   "can by itself' establish pretext and it evidences pretext even where the gap between
 10 protected activity and adverse employment actions is several months.         Bell v.
 11   Clackamas Cnty., 341 F.3d 858, 865 (9th Cir. 2003); Yartzoff, supra, 809 F.2d at
 12   1376-77; Miller v. Fairchild Indus., Inc., 797 F.2d 727, 731-733).
 13         Where alleged performance issues were not contemporaneously addressed, it
 14   suggests that the proffered non-retaliatory reasons are merely ''post hoc
 15 rationalization[s]" for a retaliatory termination. Oilier, supra, 768 F.3d at 870; see

 16   also Stegall v. Citadel Broad. Co., 350 F.3d 1061, 1071 (9th Cir. 2003) (reason
 17   asserted for the first time in litigation was unworthy of credence). Similarly, when an
 18   employer starts closely watching an employee, it "strongly suggests the possibility of
 19 a search for a pretextual basis for discipline."   Yartzoff, supra, 809 F.2d at 1377.
 20         In Oilier, the plaintiffs sued a high school for Title IX retaliation after it fired a
 21   coach who supported their discrimination claims. Oilier, supra, 768 F .3d at 851 n.3.
 22   The defendant claimed it fired the coach due to issues with his temperament and rule
 23   violations. !d. at 869. The Ninth Circuit affirmed judgment for the plaintiffs. Id at
 24   871. The court reasoned that pretext was established because the defendant's
 25   proffered reasons for the termination shifted and were inconsistent. !d. at 870-871.
 26         Here, Plaintiff reported discrimination during summer break and the
 27   investigation did not conclude until November. Plaintiff then requested Nakajima and
 28   Gerwig be terminated after the District confirmed they engaged in discrimination.
                                                  23
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  1 Within weeks, Plaintiff was suddenly placed on administrative leave. Then, within
  2   days of asserting that the decision to place her on leave was retaliatory, the District
  3 non-renewed Plaintiffs contract and kept her on unpaid leave until it terminated her.
  4   This "temporal proximity" between the complaints and the adverse employment
  5   actions is sufficient to support a prima facie case as well as providing circumstantial
  6   evidence of pretext.
  7         There is also overwhelming evidence that the District's purported reasons for
  8   its actions are "unworthy of credence." When Plaintiff was placed on leave, she was
  9 told it was so the District could investigate a purported "confidentiality issue." Now,

 10   a year later, the District claims performance issues were part of the decision to place
 11   her on leave. This new explanation is exactly the type of "post hoc rationalization"
 12 the court in Oilier held to be "unworthy of credence." Further, thee-mails about

 13 alleged performance issues were not sent by Dr. Kahn to human resources until after
 14 Plaintiff demanded to know why she was under investigation. Several of these e-

 15 mails were months old and none were discussed with Plaintiff prior to the notice of
 16 termination. The District fails to explain why Kahn suddenly changed his mind after

 17   promising to support Plaintiff, but his hasty collection of e-mails is strong evidence
 18 the District's made the decision to terminate for illegitimate reasons months earlier

 19 and was searching for purportedly legitimate bases after-the-fact.

 20         The District's sham investigation is also evidence of pretext. Despite purporting
 21   to investigate Plaintiffs allegation of retaliation, Love did not interview any decision-
 22   maker, does not mention any policies relating to discrimination or retaliation and did
 23 not analyze the timing of the District's decisions.          With respect to the alleged
 24   "confidentiality" issue, Love does not dispute that it was proper for Plaintiff to forward
 25   Finkenthal the e-mail about the airsoft gun incident, especially after Norman instructed
 26   her to enlist his help in observing Nakajima and Gerwig. Nonetheless, Love adopts the
 27   absurd theory that there was a conspiracy to "leak" the information to Finkenthal's
 28 wife. An honest investigation could not possibly conclude that this routine exchange

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  1   of information between a dean and Department Chair is unusual, let alone that it
  2 evidences a "leaking" conspiracy. Love also adopts nonsensical claim that Plaintiff

  3 somehow "waited 18 months" to report the airsoft gun incident to human resources,

  4 ignoring the fact that she immediately reported it to the police and her supervisor.

  5         The timing of the District's actions and the complete lack of credibility of its
  6   purported reasons for its actions create genuine issues of material fact on the issue of
  7   pretext. Thus, Defendant's motion should be denied.
  8 VIII. PLAINTIFF SHOULD BE AWARDED HER ATTORNEYS' FEES.
  9         If a special motion to strike '"is frivolous or is solely intended to cause
 10   unnecessary delay, the coutt shall award costs and reasonable attorney's fees to a
 11   plaintiff prevailing on the motion." Cal Code Civ. Proc. § 425 .16(c)( I); California
 12   Back Specialists Med Group v. Rand, 160 Cal. App. 4th 1032, 1037-38 (2008).
 13         The law is clear that the anti-SLAPP statute does not apply to federal claims
 14   and that employment decisions are not protected activity. Thus, the District's anti-
 15   SLAPP tnotion is frivolous and PlaintitTshould be awarded her attorneys' fees.
 16   IX.   PLAINTIFF MUST BE PERMITTED ADEQUATE DISCOVERY.
 17         Plaintiff has a right to conduct discovery and supplement her opposition so that
 18   she is afforded the procedural rights set forth in Rule 56(f). Planned Parenthood,
 19   supra, 890 F.3d at 834. Thus, if the court does not deny the District's motion on the
 20   pre-discovery record, it should continue the hearing and permit Plaintiff to conduct
 21   discovery so that she has a proper opportunity to obtain documents in the exclusive
 22   possession of the District and to depose the District's employees and other witnesses.
 23   X.    CONCLUSION
 24         For the above reasons, the special motion to strike should be denied.
 25 Dated: Apri117, 2019                               DWIN LEGAL, APC
 26                                                    By:   Is/ Evan Dwin
                                                                EvanDwtn
 27
                                                       Attorneys for Plaintiff KATHRYN
 28                                                    KAILIKOLE

                                                  25
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